Defendant’s products and services are based on biblical principles. Since its inception, Defendant has
also endeavored to operate its company in accordance with biblical principles. That is why it has
implemented a Righteous Living Core Value.

To reinforce the Righteous Living Core Value, Defendant has a Company Conduct policy that states
“[t]he image of Ramsey Solutions is held out to be Christian. Should a team member engage in behavior
not consistent with traditional Judeo-Christian values or teaching, it would damage the image and the
value of our good will and our brand. If this should occur, the team member would be subject to review,
probation, or termination.”

Under traditional Judeo-Christian values and teachings, sex is permitted only within the confines of
marriage. Therefore, Defendant prohibits its employees from engaging in sex outside of marriage so as
to maintain consistency and stay true to the company’s belief that it should be run in accordance with
biblical principles. If Defendant becomes aware of employees who engage in sex outside of marriage, it
takes disciplinary action up to and including termination of employment.




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